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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:07CR346
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
SHARON JOHNSON and,                               )
RACHEL LENAGH,                                    )
                                                  )
                     Defendants.                  )
       This matter is before the court on the motion to continue by defendant Rachel
Lenagh (Lenagh) (Filing No. 35). Lenagh seeks a continuance of the trial of this matter
which is scheduled for June 16, 2008. Lenagh has submitted an affidavit wherein she
represents that she consents to the motion and acknowledges she understands the
additional time may be excludable time for the purposes of the Speedy Trial Act (Filing No.
36). Lenagh’s counsel represents that government’s counsel has no objection to the
motion. Upon consideration, the motion will be granted. The trial will be continued as to
both defendants.


       IT IS ORDERED:
       1.     Lenagh’s motion to continue trial (Filing No. 35) is granted.
       2.     Trial of this matter is re-scheduled for July 7, 2008, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendants in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between May
30, 2008 and July 7, 2008, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason that defendants' counsel
require additional time to adequately prepare the case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 30th day of May, 2008.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
